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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 GRAY YOUNGER,

       Plaintiff,

 v.                                         CASE NO.: 8:21-cv-1807

 C.M.C., SRL and
 ALL ACCESS EQUIPMENT, INC.,

     Defendants.
 _________________________/

      AMENDED COMPLAINT AND DEMAND FOR TRIAL BY JURY

      Plaintiff, GRAY YOUNGER (Plaintiff or Mr. Younger) brings this lawsuit

against Defendants, C.M.C., SRL and ALL ACCESS EQUIPMENT, INC.

(collectively, Defendants), and alleges as follows:

                                     PARTIES

      1.     Plaintiff is, and was at all relevant times, a citizen and resident of Polk

County, Florida, and the United States.

      2.     Defendant C.M.C., S.R.L. (CMC) is a company organized, existing and

incorporated in the country of Italy, with its principal place of business located in

Bari, Italy and who manufactures products which are sold in the United States,

including within the Middle District of Florida.

      3.     Defendant, All Access Equipment, Inc. (All Access) is a Massachusetts

Corporation with its principal place of business located in Massachusetts, which

sells products manufactured by CMC in the United States, including within the
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Middle District of Florida. All Access is a successor to all of the rights and liabilities

of All Access Equipment, LLC, a Massachusetts Limited Liability Company,

pursuant to the terms of the Articles of Entity Conversion, attached hereto as

Exhibit A.

      4.     Defendants are individually, jointly and severally liable to Plaintiff for

damages suffered by Plaintiff arising from the Defendants’ design, manufacture,

marketing, labeling, distribution, sale and placement of the boom product at issue

in the instant action, effectuated directly and indirectly through their respective

agents, servants, employees and/or owners, all acting within the course and scope

of their representative agencies, services, employments and/or ownership.

      5.     The amount in controversy is in excess of $75,000, exclusive of

interest, costs, and attorneys’ fees.

      6.     Defendants are vicariously liable for the acts and/or omissions of its

employees and/or agents who were at all times relevant acting on behalf of

Defendants and within the scope of their employment or agency with Defendants.

                          JURISDICTION AND VENUE

      7.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(a) based on complete diversity of citizenship between Plaintiff

and all Defendants, and that the amount in controversy exceeds $75,000.

      8.     This Court has personal jurisdiction over each of the Defendants

pursuant to the Florida Long-Arm Statute, § 48.193. Defendants transact business

within the State of Florida, and Defendants committed tortious acts and omissions

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in Florida. Defendants’ tortious acts and omissions caused injury to Plaintiff in the

State of Florida.    Defendants have purposefully engaged in the business of

developing, manufacturing, publishing information, marketing, distributing,

promoting and/or selling, either directly or indirectly, through third parties, as

successor in interest, or other related entities, equipment, including the boom at

issue in this case, in Florida, for which they derived significant and regular income.

Defendants reasonably expected that their defective products, including the boom

involved in this case, would be sold and used in Florida.

      9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2)

because Plaintiff was injured in Polk County, Florida as a result of the defective

design, manufacture, and failure to warn of the dangers of a piece of equipment

put in the stream of commerce and sold to Plaintiff’s employer in Polk County,

Florida.

                     FACTS COMMON TO ALL COUNTS

      10.    Mr. Younger was an employee of Medlock Tree Service, Inc.

(Medlock), a corporation organized and existing under the laws of the State of

Florida, for over seven years as of October 2020.

      11.    Medlock is, and has been for more than 20 years, in the business of

trimming, landscaping, maintaining and otherwise taking care of trees.

      12.    Mr. Younger worked for Medlock, trimming and maintaining trees.

      13.    Mr. Younger was well-trained and experienced in operating and

working in a boom while trimming trees.

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      14.    Mr. Younger has, and had, at all relevant times to this lawsuit,

substantial experience and training working in, and operating, a CMC 2018 83

HD+Arbor Pro (the Boom), a boom manufactured by CMC and sold by its exclusive

U.S. distributor, All Access, to Medlock with a delivery date in approximately

December 2017.

      15.    CMC and All Access advertise and promote the Boom as “designed

with the top safety technology available”, as “[t]he only tracked lift designed from

the ground up for tree work, for arborists by arborists”, and that it “comes

equipped standard with more redundant safety devices to provide a safer work

environment”.

      16.    CMC and All Access further advertised and promoted the Boom as

follows: “New stiff boom technology combined with high quality tight fitting

components and an extra-large rotation bearing, contribute to the ‘rock solid feel’

in any position of the lift. Due to the lightness, competitor lifts are often flimsy,

shaky, rickety and wimpy”.

      17.    CMC and All Access also advertised and promoted the Boom with

various videos which emphasize the safety of the Boom.

      18.    Medlock and Mr. Younger at all times maintained the Boom in

accordance with the maintenance requirements provided by CMC and All Access.

      19.    In October 2020, Mr. Younger was in the boom bucket of the Boom

trimming and otherwise maintaining trees at a client of Medlock’s, Bok Tower

Gardens in Lake Wales, Polk County, Florida.

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      20.   Mr. Younger, at all times, was operating the Boom in accordance with

the specifications and directions provided by CMC and All Access.

      21.   While Mr. Younger was in the Boom trimming a tree in Polk County

at Bok Tower Gardens, the arm of the Boom fractured due to a defect in the design

and/or manufacturer of the Boom, and as a result of Defendants failing to provide

adequate warnings. This caused a catastrophic failure and complete fracture of the

arm of the Boom, with the boom bucket dropping approximately 65 feet before

hitting the ground, causing serious personal injuries to Mr. Younger. Attached as

Composite Exhibit B are pictures of the fractured Boom.

      22.   Approximately four months after the catastrophic failure of the Boom

causing serious personal injuries to Mr. Younger, the identical model boom (i.e., a

CMC 83 HD+Arbor Pro) fractured in the identical place on the boom in Wisconsin,

causing serious personal injuries to the arborist in the boom bucket.

      23.   In August 2021, the identical model boom (i.e., a CMC 83 HD+Arbor

Pro) fractured in the identical place on the boom in Michigan, resulting in the

death to the arborist in the boom bucket.

      24.   Defendants continued to manufacture and sell the Boom after

obtaining knowledge and information that the product was defective and

unreasonably unsafe.

      25.   Defendants are, and were, aware of the probable consequences of the

dangerous and defective Boom, including the risk of catastrophic failure and

serious injury, such as suffered by Plaintiff, Gray Younger.

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      26.    Defendants willfully and deliberately failed to avoid those

consequences, and in doing so, Defendants acted with conscious indifference,

indifference to, and/or flagrant disregard of, the safety of those persons who might

foreseeably have been harmed by the Boom, including Plaintiff.

      27.     Defendants’ conduct was so reckless and wanton in care that it

constituted a conscious disregard and indifference to the life, safety, and rights of

Mr. Younger and others operating a CMC 83 HD+Arbor Pro boom.

                                     COUNT I

            STRICT PRODUCT LIABILITY: DEFECTIVE DESIGN

      28.    Plaintiff realleges and incorporates by reference the allegations

contained in paragraphs 1 through 22 of this Complaint, as if fully set forth herein.

      29.    At the time the Boom was shipped to All Access and All Access sold

and shipped the Boom to Medlock, the product was defectively designed. As

described above, there was an unreasonable risk that the product would not

perform safely and effectively for the purposes for which it was intended, and

Defendants failed to design against such dangers, and further failed to provide

adequate warnings and instructions concerning these risks.

      30.    Defendants expected and intended the Boom to reach and be utilized

by users such as Plaintiff in the condition in which the product was sold.

      31.    The use of the Boom by Medlock and Plaintiff was reasonable, and was

a type of use that Defendants intended and foresaw when it designed,

manufactured and sold the product.

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      32.    The risks of the Boom significantly outweigh any benefits that

Defendants contend could be associated with the product. Specifically, the Boom

was not designed in such a way to prevent the arm of the Boom from breaking while

being used for its intended purpose.

      33.    At the time the Boom was manufactured and sold by Defendants,

there were safer and more feasible alternate designs for booms that would have

prevented the injuries suffered by Mr. Younger.

      34.    The Boom failed to reasonably perform as intended, resulting in

significant, serious and permanent injuries to Plaintiff.

      35.    As a direct and proximate result of the defective and unreasonably

dangerous condition of the Boom, Plaintiff suffered severe injuries and damages.

                                    COUNT II

     STRICT PRODUCT LIABILITY: DEFECTIVE MANUFACTURE

      36.    Plaintiff realleges and incorporates by reference the allegations in

contained in paragraphs 1 through 22 of this Complaint, as if fully set forth herein.

      37.    At the time the Boom was shipped to All Access and All Access sold

and shipped the Boom to Medlock, the product was defectively manufactured. As

described above, there was an unreasonable risk that the product would not

perform safely and effectively for the purposes for which it was intended, and

Defendants failed to manufacture the Boom to guard against such dangers, and

failed to provide adequate warnings and instructions concerning these risks.



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      38.    Defendants expected and intended the Boom to reach, and be utilized

by, users such as Plaintiff in the condition in which the product was sold.

      39.    The risks of the Boom significantly outweigh any benefits that

Defendants contend could be associated with the product. Specifically, the Boom

was not manufactured in such a way that the arm of the Boom would not break

while being used for its intended purpose.

      40.    At the time the Boom was manufactured and sold by Defendants,

there were safer and more feasible alternate ways to manufacture booms that

would have prevented the injuries suffered by Mr. Younger.

      41.    The Boom failed to reasonably perform as intended, resulting in

significant, serious and permanent injuries to Mr. Younger.

      42.    As a direct and proximate result of the defective and unreasonably

dangerous condition of the Boom, Mr. Younger suffered severe injuries and

damages.

                                    COUNT III

            STRICT PRODUCT LIABILITY: FAILURE TO WARN

      43.    Plaintiff realleges and incorporates by reference the allegations

contained in paragraphs 1 through 22 of this Complaint, as if fully set forth herein.

      44.    At the time the Boom was sold to Medlock, and at all times relevant to

the claims in this lawsuit, the warnings and instructions provided by Defendants

were inadequate and defective. As described above, there was an unreasonable

risk that the product would not perform safely and effectively for the purposes for

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which it was intended, and Defendants failed to design and/or manufacture

against such dangers, and failed to provide adequate warnings and instructions

concerning these risks.

      45.   Defendants expected and intended the Boom to reach, and be utilized

by, users such as Plaintiff in the condition in which the product was sold.

      46.   Plaintiff and his employer, Medlock, who purchased the CMC Boom

from All Access, were unaware of the defects and dangers of the Boom, and were

unaware of the frequency, severity and duration of the defects and risks associated

with the Boom.

      47.   The Defendants’ instructions for use provided with the Boom

expressly understate and misstate the risks associated with the Boom.

      48.   The Defendants’ instructions for use of the Boom failed to adequately

warn Plaintiff’s employer, Medlock, of numerous risks which Defendants knew or

should have known were associated with the Boom, including the risk that the

Boom arm would break and fail under normal operating conditions, resulting in

serious personal injuries to the occupant of the Boom bucket.

      49.   Defendants failed to adequately train or warn Plaintiff or his

employer, Medlock, about the necessity to regularly inspect the Boom by checking

for any possible damage on the bottom part of the Boom at the place where the

Boom failed.

      50.   If Plaintiff and/or his employer, Medlock, had been properly warned

of the defects and dangers of the Boom, and of the frequency, severity and duration

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 of the risks associated with the Boom, Plaintiff would not have used the Boom and

 Plaintiff would not have been injured.

       51.    As a direct and proximate result of the inadequate and defective

 warnings and instructions, Plaintiff suffered injuries and damages.

                                     COUNT IV

                                  NEGLIGENCE

       52.    Plaintiff realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 22 of this Complaint, as if fully set forth herein.

       53.    Defendants had a duty to use reasonable care in designing, testing,

 inspecting, manufacturing, packaging, labeling, marketing, distributing, and

 preparing written instructions and warnings for the Boom, but failed to do so.

       54.    Defendants knew, or in the exercise of reasonable care, should have

 known, that the Boom was defectively and unreasonably designed and/or

 manufactured, and was unreasonably dangerous and likely to injure individuals

 who used the Boom. Defendants knew or should have known that Plaintiff and

 Plaintiff’s employer, Medlock, were unaware of the dangers and defects inherent

 in the Boom.

       55.    As a direct and proximate result of Defendants’ negligence in

 designing, testing, inspecting, manufacturing, packaging, labeling, marketing,

 distributing, and preparing written instructions and warnings for the Boom,

 Plaintiff suffered injuries and damages.



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       WHEREFORE, as a result of the acts and omissions and conduct of

 Defendants set forth herein, Plaintiff, Gray Younger, respectfully demands

 recovery for his personal injuries including: past, present and future medical and

 related expenses; past, present and future lost wages; past, present and future loss

 of earning capacity; past, present and future mental and physical pain and

 suffering; consequential damages; the costs of this action; and punitive damages

 in an amount sufficient to punish, penalize and deter Defendants from similar

 future conduct.

                          DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all claims in this lawsuit.


                                               s/ John D. Goldsmith
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Amended

 Complaint was electronically filed on October 22, 2021 with the Clerk of Court



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 send a notice of electronic filing and copy to the parties and counsel of record:

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